Case 20-06070-sms            Doc 20      Filed 12/21/20 Entered 12/21/20 13:51:21                     Desc Main
                                         Document     Page 1 of 2



                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

IN RE:                                                    |
                                                          |
ANTHONY CARVER MCCLARN,                                   |       CHAPTER 13
                                                          |
         DEBTOR                                           |       CASE NO. 14-75160-SMS
--------------------------------------------------------- | ------------------------------------------------------
                                                          |
ANTHONY CARVER MCCLARN,                                   |       ADVERSARY
                                                          |       CASE NO. 20-06070-SMS
         PLAINTIFF,                                       |
                                                          |
VS.                                                       |
                                                          |
CITIZENS TRUST BANK,                                      |
LOANCARE, LLC,                                            |
                                                          |
         DEFENDANTS.                                      |
__________________________________________|

                              REPORT OF RULE 26(f) CONFERENCE

The conference held pursuant to FED. R. CIV. P. 26(f) and BLR 7016-1 on December 18, 2020,
which was attended by:

For Plaintiff: Bret J. Chaness, Esq.

For Defendant: Christopher J. Sleeper, Esq.

1. Initial Disclosures: The parties agree to exchange written and verified initial disclosures.

2. Discovery Plan: The parties propose a discovery period of 90 days. Discovery shall be
completed by March 18, 2021, subject to modification by the Court with the consent of the
parties or for good cause shown.

3. Other items:

         (a) The parties shall submit a consolidated pretrial order no later than 30 days after ruling
         on dispositive motions.

         (b) Unless further ordered by the Court, Plaintiff will be allowed until the close of
         discovery to file motions to join additional parties and motions to amend the pleadings.
Case 20-06070-sms          Doc 20   Filed 12/21/20 Entered 12/21/20 13:51:21               Desc Main
                                    Document     Page 2 of 2



       (c) Unless further ordered by the Court, Defendant will be allowed until the close of
       discovery to file motions to join additional parties and motions to amend the pleadings.

       (d) All dispositive motions will be filed by 30 days after the close of discovery

4. Settlement Potential:

       (a) The parties have discussed settlement, but have not yet reached a conclusion
       regarding the underlying debt.

       (b) The parties intend to hold additional settlement discussions among themselves prior to
       the close of discovery.

       (c) The parties have not considered alternative dispute resolution.

       (d) Settlement prospects may be enhanced by one of the following alternative dispute
       resolution procedures: N/A

5. Identify any other matters regarding discovery or case management that may require the
Court’s attention: N/A

6. The parties consent to this Court entering final orders and judgment in this proceeding.

7. Any other matters not covered above: N/A

8. The parties do not request a settlement conference with the Court prior to entry of the
scheduling order.

Dated: December 21, 2020

Attorney for Plaintiff:                           Attorney for Defendant:

/s/ Christopher J. Sleeper                        /s/ Bret J. Chaness
____________________________________              ____________________________________
CHRISTOPHER J. SLEEPER                            BRET J. CHANESS
State Bar No. 700884                              State Bar No. 720572
342 North Clarendon Avenue                        Rubin Lublin, LLC
Scottdale, GA 30079                               Suite 100
404-499-2700                                      3145 Avalon Ridge Place
contactus@fieldlawoffice.com                      Peachtree Corners, GA 30071-1570
                                                  (678) 281-2730
                                                  bchaness@rubinlublin.com
